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Recipients of Notice of Electronic Filing:
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Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Sabrina Dickerson        #5 Laramie Cove, Apt A            Sherwood, AR 72120
6699554     AAFES          Attn: Bankruptcy         Po Box 650060           Dallas, TX 75265
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6699556     Acima Credit         9815 South Monroe Street           4th Floor       Sandy, UT 84070
6708053     Army & Air Force Exchange Services            Attention: GC−G           3911 S. Walton Walker Blvd.          Dallas, TX
            75236
6699557     Bradley G. Dowler         PO Box 30310           Little Rock, AR 72260
6699558     Capital One        Attn: Bankruptcy         Po Box 30285          Salt Lake City, UT 84130
6699559     Capital One Auto Finance         Attn: Bankruptcy           Po Box 30285         Salt Lake City, UT 84130
6700960     Capital One Auto Finance, a division of         AIS Portfolio Services, LP         4515 N Santa Fe Ave. Dept.
            APS        Oklahoma City, OK 73118
6702210     Capital One Auto Finance, a division of Capital One, N.A.           4515 N. Santa Fe Ave. Dept. APS          Oklahoma
            City, OK 73118
6712326     Capital One Bank (USA), N.A.           4515 N Santa Fe Ave           Oklahoma City, OK 73118
6755701     Centerpoint Energy        Claims Center          PO Box 47604           Plymouth, MN 55447−0604
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6699561     Fedloan        Attn: Bankruptcy         Po Box 60610           Harrisburg, PA 17106
6699562     First Premier Bank        Attn: Bankruptcy          Po Box 5524          Sioux Falls, SD 57117
6699563     Genesis Credit/Celtic Bank        Attn: Bankruptcy           Po Box 4477         Beaverton, OR 97076
6699564     I C System        Attn: Bankruptcy         444 Highway 96 East           Saint Paul, MN 55127
6699565     Internal Revenue Service        P O Box 7346           Philadelphia, PA 19101−7346
6699566     Keith A. Aiken        P O Box 772719           Memphis, TN 38177−2719
6707827     Midland Credit Management, Inc.          PO Box 2037            Warren, MI 48090
6699567     Midland Credit Mgmt Inc          2365 Northside Drive, Ste 300           San Diego, CA 92108
6717404     Premier Bankcard, LLC          Jefferson Capital Systems LLC; Assignee            PO Box 7999          St Cloud, MN
            56302−9617
6715359     Quantum3 Group LLC as agent for Comenity Bank                PO Box 788         Kirkland, WA 98083−0788
6704066     Quantum3 Group LLC as agent for Genesis FS Card Services Inc               PO Box 788         Kirkland, WA
            98083−0788
6699568     Regional Acceptance Co          Attn: Bankruptcy          1424 E Firetower Rd          Greenville, SC 27858
6704838     Regional Acceptance Corporation          PO Box 1847            Wilson, NC 27894−1847
6705190     U.S. Department of Education          120 N. Seven Oaks Dr.          Knoxville, TN 37922
6699569     UAMS          4301 West Markham            Little Rock, AR 72205−7101
6699570     Verizon Wireless        Attn: Bankruptcy          500 Technology Dr, Ste 599           Weldon Springs, MO 63304
6715362     Verizon by American InfoSource as agent            4515 N Santa Fe Ave          Oklahoma City, OK 73118
                                                                                                                         TOTAL: 30
